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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


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                                                             :
 WATKINS HOLDINGS S.À R.L. &                                 :
 WATKINS (NED) B.V.,                                         : Civil Action No. 1:20-CV-01081-TFH
                                                             :
      Petitioners,                                           :
                                                             :
      v.                                                     :
                                                             :
 KINGDOM OF SPAIN,                                           :
                                                             :
      Respondent.                                            :
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                                       JOINT STATUS REPORT

        Pursuant to the Court’s Order dated November 1, 2021, Petitioners Watkins Holdings S.à r.l. &

Watkins (NED) B.V. (collectively, “Petitioners”), and Respondent the Kingdom of Spain (“Spain”)

(together “the Parties”) submit the following status report regarding the proceedings before the

International Centre for the Settlement of Investment Disputes (“ICSID”) to annul the Award at issue

in this case.

        1.       The Annulment Proceedings are ongoing before the Annulment Committee and a

                 hearing on those proceedings is scheduled to take place between February 3 and

                 February 5, 2022. The Parties will promptly report any updates to the Court.


Dated: January 3, 2022
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/s/ Patrick W. Pearsall                          /s/ Matthew J. Weldon
ALLEN & OVERY LLP                                K&L GATES LLP
Patrick W. Pearsall                              Matthew J. Weldon
Patrick.Pearsall@allenovery.com                  599 Lexington Avenue
John Roberti                                     New York, NY 10022
John.Roberti@allenovery.com                      Tel: (212) 536-4042
1101 New York Avenue, NW                         Matthew.Weldon@klgates.com
Washington, DC 20005
Tel: (202) 683-3800                              Brian D. Koosed
Fax: (202) 683-3999                              1601 K Street, NW
                                                 Washington, DC 20006
Bradley S. Pensyl (admitted pro hac vice)        Tel: (202) 778-9204
Bradley.Pensyl@allenovery.com                    Brian.Koosed@klgates.com
Gideon Duke-Cohan (admitted pro hac vice)
Gideon.Duke-Cohan@allenovery.com                 Michael DeMarco (pro hac vice to be requested)
Laila Delimustafic (admitted pro hac vice)       1 Lincoln Street
Laila.Delimustafic@allenovery.com                Boston, MA 02111
1221 Avenue of the Americas                      Tel: (617) 951-9111
New York, NY 10020                               Michael.DeMarco@klgates.com
Tel: (212) 610-6300
                                                 Attorneys for Defendant Kingdom of Spain
Attorneys for Petitioners Watkins Holdings
S.à r.l. & Watkins (Ned) B.V.




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